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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

       v.                                            CR. No. 05-1849 JH

DAVID C. REID

               Defendant,

                       and

AL EIDE DBA ALCAR COMPANY,

               Third Party Petitioner.


                             ORDER FOR INTERLOCUTORY SALE

       Based upon the joint motion of the Plaintiff United States, and Defendant David C. Reid,

which has been approved by Third Party Petititoner Al Eide Dba Alcar Company, and for good

cause shown,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

       1.      The Joint Motion for Interlocutory Sale of Property is granted.

       2.      The property described as follows:

               A 1978 BEECHCRAFT KING AIR C90 TURBOPROP AIRCRAFT,
               SERIAL NUMBER LJ-754,
               FAA REGISTRATION NUMBER N754TW

               will be sold pursuant to the terms set forth in the Joint Motion for Interlocutory

               Sale of Property.

       3.      The net proceeds of the sale of the property will be substituted for the above-

               described property and held by the United States Marshals Service pending a final
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              judgment in this action.




                                           JUDITH C. HERRERA
                                           UNITED STATES DISTRICT JUDGE



Respectfully submitted,
LARRY GOMEZ
Acting United States Attorney

 /s/
STEPHEN R. KOTZ
Assistant United States Attorney
P.O Box 607
Albuquerque, NM 87103
505-346-7274
505-346-7296 (Fax)


APPROVED:

 /s/
WALTER NASH, Esq.
P.O. Box 2310
Tucson, AZ 85701
520-792-1613
520-628-1079 (Fax)
Attorney for David Reid


 /s/
Douglas A. Christensen, Esq.
Pearson, Christensen & Clapp, PLLP
24 North 4th Street
P.O. Box 5758
Grand Forks, ND 58206-5758
701-775-0521
701-775-0524
Attorney for Third Party Petitioner
Al Eide DBA Alcar Company




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